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                    UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF MASSACHUSETTS



MICHAEL McCARTHY, et al.,      )
                               )       Civil Action No.
          Plaintiffs,          )       20-10701-DPW
                               )
v.                             )
                               )
CHARLES D. BAKER, in his       )
Official Capacity as Governor )
of the Commonwealth of         )
Massachusetts, et al.,         )
                               )
          Defendants.          )
______________________________

CEDRONE, LLC d/b/a SHAWSHEEN     )
FIREARMS, et al.,                )
                                 )     Civil Action No.
          Plaintiffs,            )     20-40041-DPW
                                 )
v.                               )
                                 )
CHARLES DUANE BAKER, in his      )
capacity as GOVERNOR             )
OF THE COMMONWEALTH OF           )
MASSACHUSETTS, et al.            )
                                 )
          Defendants.

               AMENDED PRELIMINARY INJUNCTION ORDER
                            May 7, 2020

     Following two hearings, (this day and on May 4, 2020)

regarding the plaintiffs’ request for interlocutory injunctive

relief and after consideration of the parties’ evidentiary and

other submissions to date, for the reasons stated during and

reflected in the stenographer’s record of the proceedings,
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it is hereby ORDERED that:

     1.   Firearms dealers licensed pursuant to Mass. Gen. L.

ch. 140, § 122 shall be permitted to conduct sales of firearms

and other goods, and may sell ammunition if licensed pursuant to

Mass. Gen. L. ch. 140, § 122B, by appointment only, with not

more than four appointments per hour.       Such firearms dealers are

limited to operating only during the period 9:00 a.m. and 9:00

p.m. daily, subject to any further land use limitations imposed

by the local government in the jurisdiction where the premises

are located as are currently in force.

     2.   Firearms dealers subject to this Order shall ensure

that the following proper social distancing and public health

and safety measures are observed in the conduct of their

business under this Order:

     (a) Ensuring that all employees and customers cover their

noses and mouths with a mask or cloth face covering;

     (b) Allowing access to hand-washing facilities for

customers and employees and allowing employees sufficient break

time to wash hands between appointments;

     (c) Providing alcohol-based wipes to customers and

employees, if available;

     (d) Establishing procedures to ensure that customers remain

at least six feet apart from each other at all times, both

inside and outside the business premises;

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     (e) Providing full or partial glass or plastic barriers, if

feasible between employee areas behind counters or areas open to

customers;

     (f) Establishing procedures to sanitize frequent

touchpoints throughout the day, including point of sale

terminals and registers;

     (g) Establishing procedures to sanitize any merchandise

that is handled by customers, but is not purchased and taken

away by the customer;

     (h) Establishing procedures under which employees and other

personnel who are sick shall not return to work without

compliance with medically prescribed quarantine procedures; and

to the extent they have symptoms of COVID-19 while at work are

sent home immediately;

     (i) Posting signs at all entrance points:

             1.   informing customers that the business is operating

on an appointment only basis with instructions for making

appointments; and

             2.   requesting customers who have symptoms of COVID-19

not enter the premises;

     (j)     Establishing such other procedures that the business

deems necessary to limit the spread of the virus that causes

COVID-19.



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     3.   The terms of this Order will take effect at 12:00

p.m., Saturday May 9, 2020 in order to allow for notice by

Commonwealth public safety officials to licensees, licensing

authorities, state and local law enforcement officials, and

members of the public.




                                 Douglas P. Woodlock______________
                                 DOUGLAS P. WOODLOCK
                                 UNITED STATES DISTRICT JUDGE




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